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       BERNSTEIN LITOWITZ BERGER
  1      & GROSSMANN LLP
       RICHARD D. GLUCK
  2    (Bar No. 151675)
       rich.gluck@blbglaw.com
  3    12481 High Bluff Drive, Suite 300
       San Diego, CA 92130
  4    Telephone: (858) 793-0070
       Facsimile: (858) 793-0323
  5
       -and-
  6
       KESSLER TOPAZ
  7      MELTZER & CHECK, LLP
       ELI R. GREENSTEIN
  8    (Bar No. 217945)
       egreenstein@ktmc.com
  9    One Sansome Street, Suite 1850
       San Francisco, CA 94104
 10    Telephone: (415) 400-3000
       Facsimile: (415) 400-3001
 11
       Counsel for Class Representatives
 12
       [Additional counsel on signature page]
 13
 14                       UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 15                            SOUTHERN DIVISION

 16    IN RE ALLERGAN, INC. PROXY                Case No. 8:14-CV-02004-DOC-KESX
       VIOLATION SECURITIES
 17    LITIGATION                                CLASS ACTION
 18                                              NOTICE OF LODGING OF
                                                 [PROPOSED] JUDGMENT
 19                                              APPROVING CLASS ACTION
                                                 SETTLEMENT; [PROPOSED]
                                                 ORDER APPROVING PLAN OF
 20                                              ALLOCATION OF NET
                                                 SETTLEMENT FUND; AND
 21                                              [REVISED PROPOSED] ORDER
                                                 AWARDING ATTORNEYS’ FEES
 22                                              AND REIMBURSEMENT OF
                                                 LITIGATION EXPENSES
 23

       NOTICE OF LODGING OF PROPOSED FINAL ORDERS                              -1-
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  1          Pursuant to the Court’s instructions at the June 12, 2018 final approval hearing,
  2    Plaintiffs and Lead Counsel respectfully submit the following proposed orders:
  3          Exhibit 1         [Proposed] Judgment Approving Class Action
  4                            Settlement

  5          Exhibit 2         [Proposed] Order Approving Plan of Allocation of
                               Net Settlement Fund
  6
             Exhibit 3         [Revised Proposed] Order Awarding Attorneys’
  7
                               Fees and Reimbursement of Litigation Expenses
  8
  9    Subject to the Court’s review and approval, the [Revised Proposed] Order Awarding

 10    Attorneys’ Fees and Reimbursement of Litigation Expenses has been revised to reflect

 11    the discussions and directions of the Court at the June 12 hearing.

 12    June 15, 2018                          Respectfully submitted,

 13
                                              BERNSTEIN LITOWITZ BERGER
 14                                                  & GROSSMANN LLP
                                              RICHARD D. GLUCK (Bar No. 151675)
 15                                           rich.gluck@blbglaw.com
                                              12481 High Bluff Drive, Suite 300
 16                                           San Diego, CA 92130
                                              Telephone: (858) 793-0070
 17                                           Facsimile: (858) 793-0323
 18                                           -and-
 19                                           /s/ Mark Lebovitch
                                              MARK LEBOVITCH (Pro Hac Vice)
 20                                           markl@blbglaw.com
                                              JEREMY P. ROBINSON (Pro Hac Vice)
 21                                           Jeremy@blbglaw.com
                                              MICHAEL D. BLATCHLEY (Pro Hac Vice)
 22                                           michaelb@blbglaw.com
                                              EDWARD G. TIMLIN (Pro Hac Vice)
 23                                           edward.timlin@blbglaw.com
                                              1251 Avenue of the Americas, 44th Floor
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                                         New York, NY 10020
  1                                      Telephone: (212) 554-1400
                                         Facsimile: (212) 554-1444
  2
  3                                      KESSLER TOPAZ
                                               MELTZER & CHECK, LLP
  4                                      ELI R. GREENSTEIN (Bar No. 217945)
                                         egreenstein@ktmc.com
  5                                      STACEY KAPLAN (Bar No. 241989)
                                         skaplan@ktmc.com
  6                                      PAUL A. BREUCOP (Bar No. 278807)
                                         pbreucop@ktmc.com
  7                                      One Sansome Street, Suite 1850
                                         San Francisco, CA 94104
  8                                      Telephone: (415) 400-3000
                                         Facsimile: (415) 400-3001
  9
                                         -and-
 10
                                         LEE RUDY (Pro Hac Vice)
 11                                      lrudy@ktmc.com
                                         JOSH D’ANCONA (Pro Hac Vice)
 12                                      jdancona@ktmc.com
                                         JUSTIN O. RELIFORD (Pro Hac Vice)
 13                                      jreliford@ktmc.com
                                         280 King of Prussia Road
 14                                      Radnor, PA 19087
                                         Telephone: (610) 667-7706
 15                                      Facsimile: (610) 667-7056
 16
                                         Class Counsel for Class Representatives and
 17                                      the Class

 18                                      MURRAY MURPHY MOUL
                                               BASIL LLP
 19                                      BRIAN K. MURPHY
                                         murphy@mmmb.com
 20                                      JOSEPH F. MURRAY
                                         murray@mmmb.com
 21                                      1114 Dublin Road
                                         Columbus, OH 43215
 22                                      Telephone: (614) 488-0400
                                         Facsimile: (614) 488-0401
 23
                                         Special Counsel for the Ohio Attorney General

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